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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE
ALAN SCHOLEFIELD,                          )
                                           )
              Plaintiff                    )
                                           )
       v.                                  )      1:17-cv-00230-GZS
                                           )
PENOBSCOT COUNTY JAIL,                     )
et al.,                                    )
                                           )
              Defendants                   )

                    RECOMMENDED DECISION ON
             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       In this action, Plaintiff Alan Scholefield alleges that Defendants have not properly

treated his depression or provided appropriate access to a CPAP machine. (Complaint,

ECF No. 1.) In his amended complaint, Plaintiff asserts that Defendant William Gardner,

a corrections officer, mistreated him after learning that Plaintiff filed this action.

(Amended Complaint, ECF No. 19.)

       The matter is before the Court on Defendants’ Motion for Summary Judgment.

(ECF No. 48.) Through the motion, Defendants argue they are entitled to summary

judgment because Plaintiff failed to exhaust administrative remedies before he filed this

action. Plaintiff did not file a response to the motion.

       Following a review of Defendants’ motion and the record, I recommend the Court

grant the motion, and dismiss Plaintiff’s complaint without prejudice.
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                                            FACTS

       The following facts are derived from Defendants’ uncontroverted summary

judgment statement of material facts. (“SMF,” ECF No. 49.)

       The Penobscot County Jail maintains a grievance policy that provides that an inmate

may initiate a grievance for an alleged violation of civil, constitutional, or statutory rights;

an alleged criminal or prohibited act by a staff member; to address unsafe or unsanitary

living conditions in jail; to resolve a chronic condition within the Jail that contradicts the

Maine State Jail Standards; or to appeal a previous grievance decision. (Id. ¶ 4, Penobscot

County Sheriff’s Office Inmate Grievances Policy, ECF No. 49-2.)

       The grievance procedure provides that an inmate must first submit a written

grievance form to the Corrections Officer, Assistant Shift Supervisor, or Shift Supervisor,

who would then investigate the matter and attempt to resolve the grievance. (SMF ¶ 5;

Policy §§ A.1 – A.3.) The investigation may involve a referral “to the appropriate

supervisory staff member who will investigate and attempt to resolve the grievance at their

level.” (Policy § A.3.) When the investigation is complete, jail administration reviews the

result, and notes whether the grievance has been resolved. (Id. §§ A.5, A.6.)

       If the inmate is dissatisfied with the result, the inmate may appeal the grievance

decision by submitting a new grievance, which is forwarded with the original grievance to

the next level of command for review. (SMF ¶ 6; Policy § A.7.) In the event the inmate is

dissatisfied with the result, to proceed with the grievance, the inmate must submit the

grievance to the Maine Department of Corrections. (SMF ¶ 7; Policy § B.1.) The Jail



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maintains all grievances filed by an inmate in the inmate’s file. (SMF ¶ 8; Affidavit of

Captain Richard Clukey ¶ 8, ECF No. 49-1.)

        As of the date of Defendant’s motion, Plaintiff’s inmate file contained nine

grievances. (SMF ¶¶ 10 – 18.) Most of the grievances concerned matters that are not

before the Court in this action.1 Four grievances are material to Defendants’ motion: two

involved mental health treatment, one concerned a CPAP machine, and one related to

Defendant Gardner’s conduct.

        Grievances regarding mental health treatment

        On June 6, 2017, Plaintiff filed a grievance (ECF No. 49-3) related to his request

for certain medication to treat depression. A clinician answered the grievance after meeting

with Plaintiff. (SMF ¶ 10.) A lieutenant then reviewed the submission and found the

grievance to be unfounded, thereby resolving the level one grievance. (ECF No. 49-3.)

        On July 5, 2017, Plaintiff filed another grievance (ECF No. 49-7) regarding his

“numerous” requests for assistance from Mental Health. As the result of the grievance,

Plaintiff was seen by Mental Health on July 6, 2017, and a plan was made to present his

case to Dr. Allen Shaffer on July 7, 2017. (SMF ¶ 14.) A lieutenant found the grievance

unfounded.

        The record reveals no further action by Plaintiff on the two grievances. Plaintiff has

not filed any other grievances related to his mental health care. (Id. ¶ 20.)




1
  In addition to the grievances relevant to this action, Plaintiff has filed grievances related to commissary
restrictions, legal mail, and a newspaper. (SMF ¶¶ 11 – 13, 15, 16.)

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        Grievance regarding Officer Gardner

        On October 5, 2017, Plaintiff filed a grievance (ECF No. 49-10) against Officer

Gardner and claimed that Officer Gardner ended Plaintiff’s diabetic diet. Plaintiff was

informed that any changes to his diet would have been made by the medical department,

and that any issues with his diet would need to be addressed with medical. (SMF ¶ 17.)

The record reveals no further action by Plaintiff on the grievance. Plaintiff has not filed

any other grievances concerning any alleged acts or omissions by Officer Gardner. (Id. ¶

21.)

        Grievance regarding CPAP machine

        On April 17, 2018, Plaintiff filed a grievance (ECF No. 49-11) alleging that his

CPAP machine was not working. As a result, the machine was fixed on April 19, 2018.

(SMF ¶ 18.)

        The record reveals no further action by Plaintiff on the grievance. Plaintiff has not

filed any other grievances related to the use of his CPAP machine. (Id. ¶ 19.)

        Plaintiff’s factual assertions

        In his form complaint, which Plaintiff signed under penalty of perjury, Plaintiff

stated the following concerning exhaustion of administrative remedies: 2

2
     For purposes of summary judgment, the facts before the court ordinarily are restricted to facts
introduced by the parties through their statements of material facts, which statements must be supported by
citations to evidence of record. See Fed. R. Civ. P. 56(c); D. Me. Local R. 56(b) – (d). If a party fails to
respond to a properly supported statement of material facts, by filing an opposing statement that complies
with Local Rule 56, the moving party’s factual statements “shall be deemed admitted.” D. Me. Local R.
56(f). Moreover, pursuant to Local Rule 7(b), parties are expected to file an objection to a motion if they
contest the motion, and unless they do so are “deemed to have waived objection.”
     A court, however, “may not automatically grant a motion for summary judgment simply because the
opposing party failed to comply with a local rule requiring a response within a certain number of days.”
NEPSK, Inc. v. Town of Houlton, 283 F.3d 1, 7 – 8 (1st Cir. 2002). Instead, a court must assess whether

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        I have done a few requests and a grievance and nothing [is] being done.

        They say [they are] waiting for records when they have my records here.
        With or without records if you [are] depressed you need something. And I
        can’t use [the] breathing machine until 11:00 p.m. for sleep but I need to nap
        during the day.

                                SUMMARY JUDGMENT STANDARD

        “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). “After the moving party has presented evidence in support

of its motion for summary judgment, ‘the burden shifts to the nonmoving party, with

respect to each issue on which he has the burden of proof, to demonstrate that a trier of fact

reasonably could find in his favor.’” Woodward v. Emulex Corp., 714 F.3d 632, 637 (1st

Cir. 2013) (quoting Hodgens v. Gen. Dynamics Corp., 144 F.3d 151, 158 (1st Cir. 1998)).

        A court reviews the factual record in the light most favorable to the non-moving

party, resolving evidentiary conflicts and drawing reasonable inferences in the non-

movant’s favor. Perry v. Roy, 782 F.3d 73, 77 (1st Cir. 2015). If a court’s review of the

record reveals evidence sufficient to support findings in favor of the non-moving party on

one or more of his claims, a trial-worthy controversy exists and summary judgment must

be denied as to any supported claim. Id. (“The district court’s role is limited to assessing

whether there exists evidence such that a reasonable jury could return a verdict for the



the movant has shown “that there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a). In particular, when a court has before it a verified
complaint, the court may consider the statements contained therein when assessing whether a genuine issue
of fact exists for trial. Clarke v. Blais, 473 F. Supp. 2d 124, 128 (D. Me. 2007).


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nonmoving party.” (internal quotation marks omitted)). Unsupported claims are properly

dismissed. Celotex Corp. v. Catrett, 477 U.S. 317, 323 – 24 (1986) (“One of the principal

purposes of the summary judgment rule is to isolate and dispose of factually unsupported

claims or defenses.”).

                                       DISCUSSION

       Federal law requires a prisoner to exhaust the available administrative remedies

before initiating a lawsuit based on 42 U.S.C. § 1983. Specifically, “[n]o action shall be

brought with respect to prison conditions under section 1983 of this title, or any other

Federal law, by a prisoner confined in any jail, prison, or other correctional facility until

such administrative remedies as are available are exhausted.” 42 U.S.C. § 1997e(a); see

also Jones v. Bock, 549 U.S. 199, 211 (2007) (“There is no question that exhaustion is

mandatory under the PLRA [Prison Litigation Reform Act] and that unexhausted claims

cannot be brought in court.”) “‘Prison conditions’ under [the PLRA] include individual

instances of medical mis-or non-treatment.” Acosta v. United States Marshals Service, 445

F.2d 509, 512 (1st Cir. 2006).

       The Supreme Court has held that § 1997e(a) requires “proper exhaustion” of a

prisoner’s administrative remedies. Woodford v. Ngo, 548 U.S. 81, 93 (2006). “Proper

exhaustion demands compliance with an agency’s deadlines and other critical procedural

rules because no adjudicative system can function effectively without imposing some

orderly structure on the course of its proceedings.” Id. at 90 – 91. “Compliance with prison

grievance procedures … is all that is required … to ‘properly exhaust.’” Jones, 549 U.S.



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at 218. “[I]t is the prison’s requirements, and not the PLRA, that define the boundaries of

proper exhaustion.” Id.

        A defendant may raise the § 1997e exhaustion requirement as an affirmative

defense. Jones, 549 U.S. at 216; see also Ramos v. Patnaude, 640 F.3d 485, 488 (1st Cir.

2011) (“The Supreme Court made it plain … that exhaustion under § 1997e(a) is not a

jurisdictional condition, and has held it to be an affirmative defense.” (citing Jones, 549

U.S. at 212)). Because failure to exhaust administrative remedies is an affirmative defense

rather than a jurisdictional issue, initially, Defendants bear the burden of proof. Jones, 549

U.S. at 216. To satisfy that burden, Defendants must establish “that there was an available

administrative remedy, and that the prisoner did not exhaust that available remedy.” Albino

v. Baca, 747 F.3d 1162, 1172 (9th Cir.) (en banc), cert. denied sub nom., Scott v. Albino,

135 S. Ct. 403 (2014). Thereafter, Plaintiff must present evidence that demonstrates “that

there is something in his particular case that made the existing and generally available

administrative remedies effectively unavailable to him.” Id.

        Here, Defendants argue that because Plaintiff failed to exhaust the available

administrative remedies, Plaintiff claims are barred by the PLRA. (Motion at 1, 7.)

Defendants have in fact demonstrated that Plaintiff did not exhaust the available

administrative remedies. 3 That is, the uncontroverted record establishes that at all relevant



3
 To be an available remedy, a grievance procedure must actually apply to the type of claim at issue. Bean
v. Barnhart, No. 1:13-cv-00196-NT, 2015 WL 3935777, at *5 (D. Me. June 26, 2015) (citing Booth v.
Churner, 532 U.S. 731, 736 n.4 (2001), and Malik v. D.C., 574 F.3d 781, 785 (D.C. Cir. 2009)). See also
Davis v. Fernandez, 798 F.3d 290, 294 – 95 (5th Cir. 2015) (“Whenever defendants claim a failure to
exhaust, they have the burden to prove that the plaintiff did not exhaust administrative remedies that were
actually available to him.”). In this case, given that Plaintiff actually initiated the grievance process and

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times, the Penobscot County Jail maintained a grievance policy, and that although Plaintiff

initiated several grievances related to the claims he asserts in this action, Plaintiff did not

complete the grievance process on any of the grievances. 4 Plaintiff’s claims, therefore, are

barred by the PLRA.

          When an inmate fails to exhaust the available administrative remedies, the

appropriate remedy is a dismissal without prejudice. Jones, 549 U.S. at 211 (“There is no

question that exhaustion is mandatory under the PLRA and that unexhausted claims cannot

be brought in court.”); Booth v. Churner, 532 U.S. 731, 735 (2001) (affirming dismissal of

action without prejudice based on prisoner’s failure to completely exhaust available

process).

                                             CONCLUSION

        Based on the foregoing analysis, I recommend the Court grant Defendants' motion

(ECF No. 48), and dismiss Plaintiff’s action without prejudice.

                                                NOTICE

               A party may file objections to those specified portions of a magistrate
        judge’s report or proposed findings or recommended decisions entered
        pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
        court is sought, together with a supporting memorandum, within fourteen
        (14) days of being served with a copy thereof. A responsive memorandum

given that Plaintiff has failed to submit any evidence to suggest the unavailability of the administrative
remedies, the record establishes that the remedies were available to Plaintiff.
4
  To the extent Plaintiff requests injunctive relief concerning the CPAP machine, the favorable resolution
of that grievance and the provision of a repaired machine would moot Plaintiff’s request for injunctive
relief. To the extent Plaintiff contends that injunctive relief is needed on his other claims because relief
was not provided through the grievance process, or that he is entitled to additional relief in the form of
damages for his pain and suffering, Plaintiff must pursue the available administrative process to completion
before filing suit in federal court, even though the administrative process would not permit him to recover
money damages. Booth, 532 U.S. at 734 – 35.


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     and any request shall be filed within fourteen (14) days after the filing of the
     objection.

            Failure to file a timely objection shall constitute a waiver of the right
     to de novo review by the district court and to appeal the district court’s order.

                                                 /s/ John C. Nivison
                                                 U.S. Magistrate Judge

     Dated this 30th day of July, 2018.




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